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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:10-CR-00299-11 WBS
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING JUDGMENT AND
                                             ) SENTENCING DATE
14   JAMES HOWARD REDMILL,                   )
                                             )
15                                           ) Judge: Hon. William B. Shubb
                 Defendant.                  )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. This matter was previously set for a Judgment and Sentencing

23         Hearing on February 10, 2014.

24   ///

25   ///

26   ///

27   ///

28   ///

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30   Stipulation to Continue                  1              United States v. Redmill
            Case 2:10-cr-00299-WBS Document 359 Filed 02/04/14 Page 2 of 2


1       2. By this Stipulation, the parties now move to continue the

2          Judgment and Sentencing Hearing until May 12, 2014, at 9:30 a.m.

3    IT IS SO STIPULATED.

4

5    DATED: February 3, 2014              /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
6                                       Assistant U.S. Attorney
7    DATED: February 3, 2014              /s/ Donald Dorfman     _
                                        DONALD DORFMAN
8                                       Attorney for JAMES HOWARD REDMILL
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11                                         ORDER
12         IT IS SO FOUND AND ORDERED.
13   Dated:   February 4, 2014
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30   Stipulation to Continue                  2              United States v. Redmill
